       CASE 0:24-cr-00072-PJS-LIB         Doc. 43    Filed 01/29/25    Page 1 of 2




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                               Case No. 24-CR-0072 (PJS/LIB)

                     Plaintiff,
v.                                                            ORDER

JERRY HAL SALITERMAN,

                     Defendant.



     Matthew D. Greenley, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

     John C. Brink, JOHN C. BRINK, LAWYER, for defendant.

       Defendant has provided a letter to the Court from his treating physician indicating

that he remains hospitalized and is currently suffering from several life-threatening

diseases. According to his doctor, the defendant is not able to travel to Court and is

planning on seeking hospice care as soon as a facility is available.

       In light of the defendant’s physical condition, and based upon all the files, records

and proceedings herein, IT IS HEREBY ORDERED that:

       1.     Counsel for the defendant is directed to file a status update as to the

              defendant’s physical condition on February 28, 2025.

       2.     An additional 30 days shall be excluded from the calculation of days within

              which trial must commence under 18 U.S.C. §3161. That period of time

              represents “delay resulting from any proceeding, including any
       CASE 0:24-cr-00072-PJS-LIB      Doc. 43    Filed 01/29/25    Page 2 of 2




             examinations, to determine the mental competency or physical capacity of

             the defendant” and thus is excludable under 18 U.S.C. §3161(h)(1)(A).




Dated: January 28, 2025                              s/Patrick J. Schiltz
                                                     Patrick J. Schiltz, Chief Judge
                                                     United States District Court




                                           2
